                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

                                   Case No. 4:24-CV-00051-M


 CYNTHIA B. AVENS,                       )
                                         )
       Plaintiff,                        )
                                         )
 v.                                      )                             ORDER
                                         )
 FARIS C. DIXON, JR., District Attorney, )
 PITT COUNTY MEMORIAL                    )
 HOSPITAL, INC.,                         )
 DR. KAREN KELLY, Medical Examiner, )
 JOHN/JANE DOE, and                      )
 JOHN/JANE DOE,                          )
                                         )
       Defendants.                       )
_____________________________________ )

       This matter comes before the court on a “Notice to Discuss Resolution” filed pro se by the

Plaintiff on May 29, 2025. DE 99. The Supreme Court instructs that courts must construe pro se

filings liberally. Erickson v. Pardus, 551 U.S. 89, 94, (2007) (“A document filed pro se is ‘to be

liberally construed…..’” (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)). In the notice,

Plaintiff “respectfully notifies the Court and Defendants that, in light of how this case has been

handled and with consideration of potential effects resulting from the Court’s rulings on the

pending motions to dismiss, she is willing to consider a resolution outside of continued litigation.”

DE. 99. Nothing has been filed since.

       Even construing the document liberally, it is unclear whether Plaintiff seeks relief from the

court in this matter, including a possible request for a court-ordered settlement conference (see

Local Civil Rule 72.3(h)(2)). Accordingly, the court ORDERS that Plaintiff file a written

supplement to the notice, and Defendants file response briefs, informing the court of their positions




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on such possible request. These documents shall be filed on or before July 15, 2025.



       SO ORDERED this 9th day of July, 2025.




                                            _____________________________________
                                            RICHARD E. MYERS II
                                            CHIEF UNITED STATES DISTRICT JUDGE




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